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                       UNITED STATES COURT OF APPEALS                       FILED
                              FOR THE NINTH CIRCUIT                          OCT 13 2023
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
 JANE DOE,                                         No.   23-55695

                   Plaintiff-Appellant,            D.C. No.
                                                   2:23-cv-04496-WLH-KES
   v.                                              Central District of California,
                                                   Los Angeles
 UNITED STATES OF AMERICA; DCA
 1976,                                             ORDER

                   Defendants-Appellees.

          The court’s August 8, 2023 scheduling order directed appellant to either to

 pay the filing fees or move to proceed in forma pauperis, and to file the opening

 brief by October 10, 2023. The order warned appellant that failure to comply

 would result in the automatic dismissal of the appeal by the Clerk of the Court. To

 date, appellant has not filed the opening brief or resolved the fee

 issue. Additionally, a review of court records reflects that appellant has failed to

 either register for electronic case filing with this court or provide a mailing

 address. In an email that the court sent to appellant on October 3, 2023, to which

 appellant responded, the court warned appellant that “unless or until you register

 for electronic case filing or provide a mailing address, you will not be receiving

 court orders or notices because the court will have no way to serve you.”




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          Accordingly, this appeal is dismissed for failure to prosecute. See 9th Cir.

 R. 42-1.

          The court will not entertain any motion to reinstate this appeal unless

 appellant has either registered for electronic case filing with this court, or provided

 a mailing address for service.

          This order served on the district court shall, 21 days after the date of the

 order, act as and for the mandate of this court.



                                                      FOR THE COURT:

                                                      MOLLY C. DWYER
                                                      CLERK OF COURT




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